CaS€ 8-17-77510-&8'[ DOC 7 Filed 12/06/17 Entered 12/06/17 15239:22

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

___________________________________ X
IN RE:

Chapter 7
BRlAN OFSIE,

Case No. 8-17-77510

Debtor.
_______________ ____ _X
AFF]])AVIT

STATE oF NEW YoRK )
) SS_;
coUNrY or NASSAU )

BRIAN OFSIE, being duly SWorn, does hereby depose and Say that:
l) I am the debtor in the instant Chapter 7 caSe.

2) I have been employed Since August 29, 2017 and arn attaching herewith
proof of my income.

3) I declare that the foregoing is true and correct.

Dated: December 6, 2017
At: Garden City, New York

)*/:2___ C_B’/

BRIAN OFSIE

 

SWORN TO BEFORE ME THIS
6th day of Deeember, 2017

§) Rm"] j L~<€S'iw

NOTARY PUBLIC

 

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' 6/17
CaS€ 8-17-77510-&8'[ DOC 7 Fl|ed 12/0

LOC: 12437 000420-000402

§§ Citizens Bank*

C.r'r.izens Bank, N.A.

One Cir/'zens P/aza - F?SD125
F’O BOX 42025’

ProL/fdence, H’/ 02940-2028

Exemptions Addi Amt Addi %
Fed: S~OO
N¥: S-DO

Pay Rate: $11.500000 Hour!y

Earnings Rafe Hours This Period Year-to-Date

Earnings Pay Period Rate Hours Per. Amuunt
Regu?ar 11/06/17-11/12/17 11.5000 40.00 460.00
Regu]ar 11/13/17~11/19/17 11.5000 40.00 460.00

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Ent€red 12/06/17 15239:22

Earn§ngs Statement

Page 002 Of 002

Per:`od Beginnl`ng.' 11/20/2017
Perfc)d Ending: 11/26/2017
Check Date; 12/01/2017
Check Number: 0001324183
Batch Number: 000000001552

BR|AN OFS!E
29 Farm Lane
Ffoslyn Heights, NY 11577

Other Benefits and
Information This Period Year-to~Date

 

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Loc: 12437 000419~000402 Earnings Statement
§§ Citizens Bank”
} , _ Page 001 of 002
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One Crtrzens Plaza - HSDF,?§ . g`
Ci'leck Date. 12101/2017
PO Box42028 C .
vaidence H}. 02940_2028 heck Number. 0001324183
' Batch Number: 000000001552
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E t' Add1 Amt rich a 29 arm ane
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NY: S-OO

Pay Ftate: $11.500000 Hour|y
Other Benefits and

 

 

Ea\"nings Rate Hour's Th'is Per'iod Year-ta-Date Information This Period Year‘-to-Date
Regu]a‘i" 11.5000 112.00 1288.00 5428.00 Denta`| P`|an 33.53 278.78
BYUD Stipend 20.00 60.00 Medicai Pian 117.69 980.75
Dr‘aw 2540.00 30480.00 Vision Pian 5.11 42.86

 

 

      

 

 

 

 

 

 

 

 

 

 

 

 

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Bolded 1ines inc1ude prior per'. earnings on fo]]ow'ing pgs ]HFSF-Ta)( Deducflons §
Tax Deductiorls Accident Insuranc 6.82 61.38 fm
Fed Withhoidng 0.00 0.00 Hospita] Indemnit 5.16 46.44 §
Fed MED/EE 53.24 501.78 Supp]ementai Life 1.46 13.14 z
Fed OASUl/EE 227.(55 2145.55 §
NY Withho`ldng 243.'37 2191.77 u_'
NY or\SDI/EE 0.50 7.30 §
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Net Check 3,152.77
Benetit_ Summary Al|otment Used

 

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_.For' questions reqar‘dihcl vour Dav statement. o`|ease contact 866-472-823¢1.

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Loc: 12437 000160-000158

§§ Citizens Bank'

C-`r`rizens Bank, N.A.

One Cr`x`izens Plaza - HSD125
PO Box 42028

Pro'./idence, HI 02940-2028

Exemptions Addi Amt Addi %
Fed: S-DO
NY: S-OO

Pay Rate.' $11.500000 Hourly

 

Earnings Rate Hours This Period Year-to-Date
Draw 2540.00 27940.00
BYUD Stipend 40.00
Reguiar 4140.00

 

 

 

 

Tax Deductions

Fed Withhoidng D.OO 0.00
Fed MED/EE 34.56 448.54
Fed DASDI/EE 147.78 1917.90
NY Withhoidng 143.83 1947.80
NY OASDI/EE O.EO 7.20

 

 
   

 

 

Beneflt Summary

Earnings Statement

Page 001 of 001

Period Beginning: 11/13/2017
Period Ending: 11/19!2017
Check Date.' 11/24,"2017
Check Number: 0001323992
Batch Number: 000000001550

BR|AN OFS|E
29 Farm Lane
F{os|yn Heights, NY 11577

Dther Benefits and

 

Information This Period Year-to-Date
Denta] Pian 33.53 245.25
Medicai Pian 117.69 863.06
Vision Pian 5.11 37.75

 

   

 

 

  

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Accident Insuranc 6.82 54.56
Hospitai Indemnit 5.15 41.28
Suppiementai Life 1.46 11,68

 

 

 

 

Drrect Deposlt Summary

Net Check 2.043.46

For questions reqardina vour nav statement. oiease contact 866-472~8234.

 

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Loc: 12437 000478»000455

§§ Citizens Bank'

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Cr'fr`zens Bank, N,A.

Or.'e C."tizens Plaza - HSD125
F’O BOX 42028

Providence, FN 02940-2028

Exemptions Addl Amt Add1 k
Fed: 5-00

NY: S-DU

Pay Rate: $11.500000 Hourly

 

Earnings Rate Hours Thi s Per'iod Year‘ -to-Date
DFaw 2540.00 25400.00
BYOD Stipend 40.00
Reguiar 4140.00

 

 

 

Tax Deductions

Fed Withhcidng D.OO 0.00
Fed MED/EE 34.55 413.98
Fed OASDI/EE 147.79 1770.12
NY Withhoidng 143.83 1803.97
NY OASDI/EE 0.60 6.60

 

  
   

 

Beneflt bumrnary Allotmen

Earnings Statement

Page 001 of 001

Period Beginning'. 11/06/2017
Period Ending: 11."12!2017
Check Date'. 11!17,'2017
Check Number: 0001323750
Batch Number: 000000001543

BR|AN 0FS!E
29 Farm Lane
Fioslyn Heights, NY 11577

Other Benefits and

 

Information This Period Year-to¢nate
Dentai Pian 33.53 211.72
Medicai 131 an 117.69 745.3?
Vision Pian 5.11 32.64

 

 
      

  

 
   

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Accident lnsuranc 6.82 47.74
Hospitai lndemnit 5.16 36.12
Suppiementai Life 1.46 10.22

 

    

 

 

direct Deposl " n
Net Check

For questions reqardinq vour nev statement. piease contact 866-472-8234.

 

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Case 8-17-77510-ast

Loc: 12437 000174-000172

§§ Citizens Bank'

Cirizens Bank, N.A.

Or.'e Cr'rr'zens P!aza - RSD125
PO Box 42028

Pro\/idence, Fa‘r' 02940-2028

Exemptions Addi Amt Addi %
Fed: S-GO

NY: S-GO

Pay Hate: $11.500000 |-|ourly

 

Earnings Rate Hours This Period Year-to-Date
Draw 2540.00 22860.00
Reguiar 11.5000 40.00 450.00 4140.00
BYUD Stipend 40.00

 

 

 

Tax Deductions

Fed Withhoidng 0.00 0.00
Fed MED/EE 41.24 379.42
Fed OASDI/EE 176.31 1622.33
NY Withhoidng 181.00 1660.14
NY OASDI/EE 0.60 6.00

 

 

 

Beneflt Summary Allotment Used

anor~ questions regarding your pay statement, piease contact 866~472-8234.

DOC 7 Filed 12/06/17 Entered 12/06/17 15239:22

Earnings $tatement

Page 001 of 001

Period Beginning: 10/30."2017
Perlod Ending: 11/05/2017
Check Date; 11/10/2017
Check Number: 0001323564
Batch Number; 000000001546

BH|AN OFS|E
29 Farm Lane
Ros|yn Heights, NY 11577

Dther Benefits and

Infor‘mation This Pe\"iud Year-to-Date

 

Dentai Pian 33.53 178.19
Medicai P1 an 117.69 627.68
\)'ision Pian 5.11 27.53

 

 

 
   

 

 

 

 

 

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Accident Insuranc 6.82 40.92
Hospitai Indemnit 5.16 30.96
Suppi ementa1 l_i fe 1.-'-16 B.76

 

 

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Dlrect Deposlt Summary
Net Check

 

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Loc: 12437 000391-1]00386 Earnings Statement
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§§Cltlz nk l _ _ Page 002 of 002
Cm.ZEnS Bank) N'A' Period Beginning: 10/23/2017
-- Perlod Endlng. 10/29,’2017
One Cn‘lzens P»'aza' - HSDTE5 .
Check Date. 11/03/2017
§§gd°;‘n‘;:o§ 02940_2028 check Number; 00013233@5
' Bamh Numben 000000001544
BFiiAN OFSIE
Exemptions Addi Amt Addi % 29 Farn1 kane
Fed: 5_00 Ros|yn Helghts, NY 11577
NY: S-OO

Pay Rate: $11.500000 Hour|y
Other Benefits and
Earnings Rate Hours This Period Vear-to-Date Information This Period Year-to-Date

 

 

The foiiowing earnings from prior pay periods are being
paid in this period and included in the Earnings on page 1
(bo`ided iines) .

Earnings Pay Period Rate Hours Per. Amaunt
Reguiar 10/15/17-10/22/37 11.5000 40.00 460.00

 

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order of:

NON-NEGOT|ABLE

 

 

 

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CaS€ 8-17-77510-&8'[ DOC 7 Filed 12/06/17

Loc: 12437 000390~000386

H§Citizens Bank'

HHi

  

Cri‘."zens Bank, N.A.

One Cfrfzens P/aza - HSDTZS
PO Box 42028

Prov.'dence, Hr' 02940-2028

Exemptions Addi Amt Addi %
Fed: 5-00
NY: S-OO

Pay Fiate: $11.500000 Hour|y

Earnings Rate Hours This Perind Year-to-Date
Reguiar 11.5000 80.00 920.00 3680.00

 

 

 

 

    
  

 

   

BYOD Stipend Z0.00 40.00
DFdW 2540.00 20320.00
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Tax Deductions

Fed Nithhoidng 0.00 0.00
Fed MED/EE 47.90 338.18
Fed DASDI/EE 204.83 1446.02
NY Withhoidng 217.66 1479.14
NY UASDI/EE 0.60 5.40

 

 

 

 

  

 

 

 

Beneflt Sum Al|otment

  

Ent€red 12/06/17 15239:22

Earnings Statement

Page 001 of 002

Period Beginning: 10/23/2017
Pen`od Ending: 10/29/2017
Check Daie: 11!03/2017
Check Nurnber: 0001323365
Bamh Numbeh 000000001544

BRMN OFSE
29 Fann Lane
Ros|yn Heights, NY 1157?

0ther Benefits and
Information This Period Year-to-Date
Dentai Pian 33.53 144.66

Medicai Pian 117.69
Vision Pian 5.11

509.99
22.42

 

    
 

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Accident Insuranc 6.82 34.10
Hospitai Indemnit 5.16 25.80
Suppiementai Life 1.46 7.30

 

 

 

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Loc: 12437 000194-000191

§§ Citizens Bank‘

Cr'rizen.s Bank, N.A.

One C."t."zens Plaza - HSDT.?§
PO Box 42028

Prov."denoe, Fi‘.' 02940-2028

Exemptions Addi Amt Addi %
Fed: S-UO

NY: S-OD

Pay Flaie: $11.500000 Hour|y

 

Earnings Rate Hours This Period Year-to-Date
Draw 2540.00 17780.00
B¥UD Stipend 20.00
Reguiar 2760.00

 

 

 

Tax Deductions

Fed Withhoidng 0.00 0.00
Fed MED/EE 34.56 290.28
Fed OASD[/EE 147.78 1241.19
NY Withhoidng 143.83 1261.48
NY DASDI/EE 0.60 4.80

 

 
    

 

 

Beneflt Summary Allotment Used

Earnings Statement

Page 001 of 001

Period Beginning: 10/16/2017
Period Ending: 10!22,12017
Check Daie: 10/27/2017
Check Numben 0001323181
Bamh Numben 000000001542

BNAN OFWE
29 Fann Lane
Roswn Hdghm, NY H577

Other Benefits and

 

Information This Period Year-to-Date
Denta] Pian 33.53 111.13
Medicai Pian 117.69 392.30
Vision Pian 5.11 17.31

 

 

 

Accident lnsuranc 6.82 27.28
Hospitai Indemnit 5.16 20.54
Suppiementai Life 1.46 5.84

 

 

 

  

 

 

 

 

Dlrect Deposlt Summary
Net Check 2,043.46

For questions reqardinq vour nav statement. piease contact 866-472-8234.

 

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Loc: 12437 000451-000435

d Citizens Bank'

Ci`rizens Bank, N.A

One Cr`tizens Piaza - RSD125
PO Box 42028

Provr`dence, FU 02940-2028

Exemptions Addi Amt Addi a
Fed: S-DO
NY: S-OO

Pay Rate: $11.500000 Hourly

Earnings Rate Hours This Period Year-to-Date

The foiiowing earnings from prior pay periods are being
paid in this period and inciuded in the Earnings on page 1
(boided iines).

Earnings Pay Period Rate Hours Per. Amount
Reguiar 10/02/17-10/03/17 11.5000 40.00 460.00

 

Earnings Statement

Page 002 of002
Period Beginning: 10/09/2017

Period Ending: 10/15/2017
Check Date: 10."20,'2017
Check Number: 0001322950
Batch Number: 000000001540

BRIAN OFSlE
29 Farm Lane
Ros|yn Heights, NY 11577

Other Benefits and
Information This Period Year-to~Date

 

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NON-NEGOT|ABLE

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CaS€ 8-17-77510-&8'[ DOC 7 Filed 12/06/17 Entered 12/06/17 15239:22

Loc: 12437 000450-000435
§§ Citizens Bank"
Cr`tr'zens Bank, N_A.
One Citizens P.'aza - HSDi 25
PO BOX 42028
Prov."dence, Hi 02940-2028
Exemptions Addi Amt Addi %
Fed: S-OU
NY: S-OD

Pay Fiate: $11.500000 |-|our|y

 

Earnings Rate Hours This Period Year-to-Date
Regular 11.5000 72.00 828.00 2750.00
Draw 2540.00 15240.00
BYOD Stipend 20.00

 

 

 
 
   

 

   

Boided lines include prior per. earni
Tax Deductions

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Fed Withhoidng 0.0D D.OO
Fed MED/EE 46.57 255.72
Fed OASDI/EE 199.13 1093.41
NY Withhoidng 210.73 1117.65
NY OASDI/EE 0.60 4.20

 

 
       

 

 

1Beneilt Summary 1 llotment Used

Earnings Statement

Page 001 of 002

Perjod Begirining: 10/09/2017
Period Ending: 10!15/2017
Check Date: 10/20/2017
Check Nurnber: 0001322950
Batch Number: 000000001540

BRIAN OFSIE
29 Farm Lane
Flos|yn Heights, NY 11577

Other Benefits and

 

Information This Period Year-to-Date
Dentai Pian 33.53 77.60
Medicai Pian 117.69 274.61
Vision Pian 5.11 12.20

 

 

 

 

 

After-Tax Deductlons

Accident Insuranc 6.82 20.46
Hospitai Indemnit 5.16 15.48
Suppiementai Life 1.46 4.38

 

 
 

 

:Dlrect Deposrt .:»ummary
Net Check

 

 

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For questions reqardinq your pay statement, please contact 866-472-8234.

 

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000197-000196

Loc: 12437
§¥Citizens Bank*

C:'n'zens Bank, N.A

One Citfzens Plaz.s - HSDT 25
PO Box 42028

Prow`dence, FH 02940-2028

Exemptions Addi Amt Addi t
Fed: 5-00
NY: S~OD

Pay Rate: $11.500000 Hourly

 

Earnings Rate Hours This Period Year-to-Date
Draw 2540.00 12700.00
BYOD Stipend 20.00
Reguiar 1932.00

 

 

 

 

Tax Deductions

Fed Withhoidng 0.00
Fed MED/EE 34.57
Fed DAsnI/EE 147.73
NY withhoidng 143.83
NY 0ASDI/EE 0.60

0.00
209.15
894.28
906.92

3.60

 

 

 

 

 

 

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For questions regarding your pay statement, piease contact 866-472-8234.

 

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Earnings Statement

Page 001 of 001

Period Beginning: 10/02/2017
F’eriod Ending: 10/08/2017
Check Date: 10/13/2017
Check Nurnber: 0001322760
Batch Number: 000000001538

BFHAN OFS|E
29 Farm Lane
Flosiyn Heights, N¥ 11577

Other Benefits and

 

Information This Period Year-to-Date
Dentai Pian 33.53 44.07
Medicai Pian 117.69 156.92
Vision Pian 5.11 7.09

 

 

 

 

After-Tax Deductions

Accident Insuranc 6.82 13.64
Hospitai Indemnit 5.16 10.32
Suppiementa] Life 1.45 2.92

 

 

 

 

 

Net Check 2,043.45

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CaSe 8-17-77510-ast
Loc: 12437

§§ Citizens Bank'

Cin`zer.'s Bank. N.,€L

One C."rizens Plaza - HSD125
PO Box 42028

Provfdence, F?:' 02940-2028

Exemptions Addl Amt Addl %
Fed: 5-00
NY: S-UO

F’ay Fiaie: $11.500000 Houriy

DOC 7 Filed 12/06/17

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Earnings Rate Hours This Period Vear-to-Date
Reguiar 11.5000 80.00 920.00 1932.00
Draw 2540.00 10160.00
BYOD Stipend 20.00 20.00

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Earnings Statement

 

 

 

 

  

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Tax Deductions

Fed Withholdng 0.00
Fed MED/EE 49.42
Fed OASDI/EE 211.32
NY Withholdng 225.13
NY OASDI/EE 0.60

 

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746.50
763.09

3.00

 

 

 

 

 

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Page 001 of002

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Period Ending: 10/01/2017
Cheek Date: 10/06/'2017
Check Number.' 0001322549
Batch Number: 000000001536

BRMN OFSE
29 Farm Lane

Fios|yn Heights, NY

Other Benefits and

11577

 

Information This Period Year-to-Date
Dental Plan 10.54 10.54
Medical Plan 39.23 39.23
Vision Plan 1.98 1.98

 

 

  

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Accident lnsuranc 6.82 6.82
Hospital Indemnit 5 16 5 15
Supplemental Life 1.46 1 4

 

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Net Check

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CaSe 8-17-77510-ast Doc 7 Filed 12/06/17 Entered 12/06/17 15

Loc: 12437 000417-000400 Earnings Statement
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One Cftfzens P.'aza-HSDT£S erlo n |i-'Q' / ' 1
Check Date. 09/22/2017
PO 59”42028 Check Number- 0001322132
P’O‘”de"€e":” 02940'2028 Baich Number: 000000001532
BR||§N oFsiE
E a tim Addi nat Addi a 29 arm LH"@
Xlfgdp: 5-00 Roslyn Heights, NY 11577

NY: S-OO

Pey Hete; $11.500000 Hour|y

Other Benefits and

Earni'ngs Rate Hours This Period Year-to-Date Information This Period Year-to-Date
Draw 2540.00 5080.00

Regular 11.5000 40.00 460.00 1012.00

 

 

 

 

 

   

After-Ta
Tax Deductions

Fed Withiioldng 680.87- 0.00

Fed MED/EE 43.50 88.33

Fed OASDI/EE 185.00 377.70

NY withholdng 193.63 381.50

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Dlrect Deposlt Su y
Net Check

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Fnr nnestions reoardind vour nav statement. please contact 865-47?-8234.

Case 8-17-77510-ast Doc 7

Loc: 12437
§§ Citizens Bank'

Cfrfzens Bank, N.A.

One Cftfzens P)'a'za ~ HSD125
Box 42028

Prow'dence, FN 02940-2028

Exemptions Addl Amt Addl %
Fed: S-OO
NY: S-OU

Pay Flate.' $11.500000 Houriy

Earnings Rate Hours
Draw 2540. 00
Reguiar 11.5000 32.00 358.00

 
 

Tax Deducdons

Fed Withhoidng 656.89
Fed MED/EE 42.16
Fed OASDI/EE 180.29
NY Withhoidng 186.20
NY OASDI/EE O.EO

000206~000204

This Period Year~to-Date

2540.00
552.00

 

' :22
Filed 12/06/17 Entered 12/06/17 15.39

Earnings Statement

Page 001 of 001

Period Beginning; 09/04/2017
Period Ending: 09/10/2017
Check Date: 09/15/2017
Check Number: 0001321952
Barch Number.' 000000001530

BHIAN OFSlE
29 Farm Lane
F{oslyn Heights, NY 11577

Other Benefits and

Information This Period Year~to-Date

 

 

 

680.87
44.83
191.70
187.87
1.20

 

 

1,831.86

 

 

 

_4For questions reqardinq_your pay statement,

please contact 866-472-8234.

 

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